                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF IOWA
                                 CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,                                         )
                                                                   )
                      Plaintiff,                                   )      No. 19-CR-0059-CJW
                                                                   )
            vs.                                                    )
                                                                   )
 RAVEN DAMIEN MEADER BURKHOW,                                      )
                                                                   )
                      Defendant.                                   )


                            GOVERNMENT’S SENTENCING BRIEF

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I.      INTRODUCTION

        The Final PSR lists four sentencing guidelines issues and a special condition

of supervised release as issues for resolution by the Court at sentencing. As

explained below, the Court should (1) assess defendant with base offense level of 20

under USSG §2K2.1(a) because he was a user of a controlled substance; (2) impose a

four-level enhancement under USSG §2K2.1(b)(5) because defendant engaged in the

trafficking of firearms; (3) impose a four-level enhancement under USSG

§2K2.1(b)(6)(B) as stipulated by the parties in the plea agreement because

defendant used or possessed a firearm in connection with another felony offense; (4)

impose a two-level enhancement under USSG §3B1.1(c) because defendant acted as

an organizer, leader, manager, or supervisor of criminal activity; and (5) impose a

special condition of supervised release requiring defendant to undergo a substance

abuse evaluation and complete any recommended treatment.

II.     BACKGROUND

        The United States anticipates the PSR and the evidence at the sentencing

hearing will establish the following. Defendant was selling cocaine in 2018 and

2019. (PSR ¶¶ 6-7). He charged $1,600 per ounce of cocaine. Id. Between

September 2018 and February 2019, defendant sold cocaine to an individual who

later became a confidential informant (“CI”) fifteen times. (PSR ¶ 7). He knew the

CI was a drug dealer in that defendant knew the CI intended to distribute some or

all of the cocaine to other people. Id. At some point between September 2018 and



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February 26, 2019, defendant sold the CI a Glock-type “ghost gun” firearm (a

firearm manufactured privately from unfinished receivers that lacks manufacturer

serial numbers) with an attached silencer. Id. The CI paid defendant $900 for the

firearm and $900 for the silencer. Id. Defendant sold the firearm to the CI at the

same time as cocaine in a single transaction. Id. On February 26, 2019, officers

searched premises controlled by the CI in Waterloo and found cocaine, the ghost

gun, and the silencer. (PSR ¶ 8).

      Law enforcement subsequently used the CI to conduct five controlled

purchases of cocaine from defendant between March 12, 2019, and April 29, 2019.

(PSR ¶¶ 14, 15, 16, 18, 22). All of these purchases took place in the alley behind

defendant’s apartment building located in downtown Cedar Rapids across the street

from a convention center. 1 (PSR ¶¶ 15, 23). Defendant set the prices and the

locations for these purchases. On each of these occasions, the CI used an encrypted

messaging app to arrange the purchase with defendant. (PSR ¶¶ 14, 15, 16, 18, 22).

Each time, the CI bought one ounce of cocaine for $1,600 from defendant using pre-

serialized currency. (PSR ¶¶ 14, 15, 16, 18, 22). As part of the March 14, 2019

controlled purchase, the CI also bought another Glock-type ghost gun equipped with

a silencer. (PSR ¶ 15). The silencer, a National Firearms Act (“NFA”) firearm, did

not have a serial number and it was not registered. Id.



      1The United States asks the Court to take judicial notice of the location of
defendant’s residence within Cedar Rapids.


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      At the times of the purchases, the CI and defendant spoke about defendant’s

plans for firearms trafficking and the CI would check in to see if defendant had any

fully automatic firearms, i.e. machineguns, for sale. (PSR ¶¶ 14, 16, 22). During

the third controlled purchase on April 1, 2019, the CI told defendant the CI was

having trouble collecting money. (PSR ¶ 16). Defendant indicated the CI should let

the defendant know if the CI needed help collecting money because the defendant

knew people “that do stuff on the side, that’s as professional as it gets.” Id. After

the April 1, 2019 purchase, defendant sent the CI a message containing a picture of

the defendant’s hand holding a pipe bomb. (PSR ¶ 17, Gov’t Exh. 1 at 16).

Defendant then sent another message immediately following the picture in which

the defendant wrote the following: “If you need somewhere to go boom I can make it

happen btw, for a small price.” (PSR ¶ 17, Gov’t Exh. 1 at 16).

      During this time, from November 2018 through April 2019, defendant was a

member of a conspiracy to violate the NFA. (PSR ¶ 11). Other members of the

conspiracy included R.M. and R.F. Id. Defendant and R.F. discussed, among other

things, solvent traps, suppressors, milling the third hole in receivers, and possible

domains for a website, which included fucktheatf.com and fuckthenfa.com. (PSR ¶

12). Defendant selected fucktheatf.com. Id. Defendant directed S.M. to establish

the website fucktheatf.com and it became a publically available website. (PSR ¶

13). The background photograph on the site was that of a Bureau of Alcohol,




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Tobacco, Firearms, and Explosives (“ATF”) agent who had been shot in Waco,

Texas. Id.

      On April 23, 2019, defendant met with R.F. and R.M. in Des Moines. (PSR

¶ 19). At defendant’s request, R.F. and R.M. worked on milling the lower receiver of

a rifle to make it function as a machinegun. Id. Defendant gave R.M. four parts

kits for M16s and R.M. agreed to convert AR lower receivers to fully automatic

firearms in exchange for $200 per receiver. Id. R.M. converted two lower receivers

to fully automatic and cerakoted the firearms at Creative Arms. Id. R.F. made

baffles for and completed integrated silencers for the upper receivers for the fully

automatic firearms. Id. On April 23, 2019, defendant sent a video of himself firing

a fully automatic firearm to the CI through the encrypted app. (PSR ¶ 20).

Defendant indicated that he had such firearms for sale and the CI expressed

interest in purchasing one. Id.

      On April 26, 2019, defendant met with R.F. and R.M. again in Des Moines.

(PSR ¶ 21). R.M. gave defendant the completed machineguns. Id. Defendant

asked R.M. about converting 80% AK receivers to fully automatic and gave R.M.

defendant’s own AK-47 as a reference rifle. Id. Defendant asked R.M. to take the

receiver off of the rifle and replace it with an 80% receiver that was converted to be

fully automatic. Id. Defendant also gave R.M. an additional fifteen M16 parts kits

that the defendant had received from R.F. Id. Defendant paid R.M. $4,000 in cash

for the conversion of 20 firearms to fully automatic firearms. Id. R.F. completed



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five integrated silencers placed in upper receivers and gave the integrated silencers

and two other silencers to the defendant. Id. The defendant paid R.F. $7,000 in

cash. Id.

      On April 29, 2019, law enforcement used the CI to conduct the fifth and final

controlled purchase from defendant. (PSR ¶ 22). In addition to an ounce of cocaine,

the CI bought an M16-type, .300 Blackout caliber firearm—a machinegun equipped

with an integrated silencer—from defendant. Id. In the course of the transaction,

defendant told the CI that the firearm he was giving the CI was a machinegun

chambered in .300 blackout. Id. Defendant stated that he had taken similar

firearms to Chicago, Compton, and Baltimore, where they would sell for a lot more

money. Id. The CI paid $5,600 for the machinegun, the silencer, and the cocaine.

Id. Neither the machinegun nor the silencer had serial numbers and both were

unregistered NFA firearms. Id.

      After the controlled purchase, law enforcement executed a search warrant at

defendant’s downtown apartment. (PSR ¶ 23). Officers located two loaded firearms

on defendant’s person. Id. Defendant’s door was equipped with a loud alarm. (PSR

¶ 24). Just inside the door of the apartment, officers found several lengths of PVC

pipe and an aluminum can that contained ammonium nitrate. Id. Officers located

drug paraphernalia including bongs and rolled up dollar bills containing cocaine

residue. Id. On the second shelf of an upper cabinet in the defendant’s kitchen,

officers found a plate with approximately six rocks of cocaine on it. Id. Next to the



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plate were several rolled-up dollar bills with cocaine residue and a plastic card, used

for chopping cocaine. Id. In the defendant’s living room, officers found a bong on

the floor next to the coffee table, and marijuana (which was out on a tray and ready

for use), a bong that contained marijuana, and a jar containing marijuana on top of

the coffee table. Id. Officers found another bong in defendant’s bedroom. Id.

Officers located a total of 157.44 grams of cocaine, 12.61 grams of

methamphetamine (in the form of “Homer Simpson” shaped tablets), cannabidiol

(CBD), and a small amount of marijuana. Id.

      With respect to additional firearms, officers found a pipe bomb identical to

the one defendant sent a picture of to the CI. Id. Officers also found thirteen

firearms, including two machineguns equipped with integrated silencers, other

silencers, and thousands of rounds of ammunition stationed throughout defendant’s

apartment. (PSR ¶ 25). Officers later executed a search warrant on a safe found in

defendant’s apartment. (PSR ¶ 27). Inside, they found gold valued at $5,522.50,

$172,970 in cash, twelve assorted loaded magazines, 680.6 grams of cocaine, and

four firearms, including a machinegun equipped with a silencer and a sawed-off

shotgun. Id.

      In an interview with law enforcement on April 29, 2019, defendant stated

that he had begun using marijuana and then became addicted to opiates at a young

age. (PSR ¶ 26). Defendant advised that opiates were his current drug of choice

when he was able to get them. Id. Defendant stated, “I had shoulder surgery and



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that kind of started everything again.” Id. The defendant advised that nobody was

forcing him to use drugs—he was doing drugs willingly. Id. During the interview,

defendant also stated that he would not feel responsible if he sold a gun that was

later used to commit violent crimes. Id.

III.     ARGUMENT

A.       Defendant Was an Unlawful User of a Controlled Substance

         The PSR assesses defendant with a base offense level of 20 under USSG

§2K2.1(a), in part, because defendant was an unlawful user of a controlled

substance at the time of the offense. Defendant denies that he was an unlawful

user of a controlled substance.

         As defendant stipulated,

         In April 2018, the defendant had shoulder surgery and was prescribed
         opiates. Firearms purchase records, videos recovered from the
         defendant’s cellular telephone, and social media account records
         document the defendant’s continuous activity in purchasing and
         possessing firearms beginning as early as January 2016 and through
         the date of defendant’s arrest in this case on April 29, 2019.

(PSR ¶ 35). A substantial amount of drugs and drug paraphernalia were recovered

from defendant’s apartment: marijuana, methamphetamine, cocaine, rolled-up

dollar bills with cocaine residue, plastic cards used for chopping cocaine, and three

bongs. On April 29, 2019, defendant admitted to being a user in that he said he was

doing drugs willingly and that his shoulder surgery had started everything again.

These statements align with his admissions to pretrial services that he used cocaine

while using opiates after his shoulder surgery and his further admission to


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probation at the time of the presentence report that he abused his prescribed pain

medication after his shoulder surgery in April 2018. (Case No. 19-MJ-149, Docket

9, PSR ¶ 75). Also at the time of the pretrial services report, defendant initially

said his last use of cocaine was the end of April 2019 before changing his answer.

(Case No. 19-MJ-149, Docket 9). Defendant points to a clean urinalysis as evidence

that he is not a drug user. That is one day out of a period of years and cocaine, in

particular, does not stay in a person’s system for long.

       There is ample evidence of defendant’s drug use in this case, including his

own admissions and drug paraphernalia and drugs seized from defendant’s

apartment. The Court should assess defendant with a base offense level of 20 as

scored by the PSR.

B.     Defendant Engaged in the Trafficking of Firearms

       Under USSG §2K2.1(b)(5), a four-level enhancement applies if the defendant

engaged in the trafficking of firearms. Application note 13 to USSG §2K2.1 states:

             Subsection (b)(5) applies, regardless of whether anything of
       value was exchanged, if the defendant—

             (i) transported, transferred, or otherwise disposed of two or
                 more firearms to another individual, or received two or more
                 firearms with the intent to transport, transfer, or otherwise
                 dispose of firearms to another individual; and

             (ii) knew or had reason to believe that such conduct would result
                  in the transport, transfer, or disposal of a firearm to an
                  individual—

                (I) whose possession or receipt of the firearm would be
                    unlawful; or



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               (II) who intended to use or dispose of the firearm unlawfully.

      The Court should impose the four-level enhancement as scored by the

probation office. In United States v. Lomax, 910 F.3d 1068, 1069 (8th Cir. 2018),

cert. denied, 139 S. Ct. 2730, 204 L. Ed. 2d 1122 (2019), a confidential source

informed law enforcement that the defendant in that case was trying to sell an

automatic weapon and a live grenade. The source met the defendant and retrieved

the automatic weapon, ammunition, and the hand grenade from the defendant’s

truck. Id. At sentencing, the district court imposed the trafficking enhancement

because the defendant “had transferred two weapons to someone he knew or had

reason to believe was a felon and who he had reason to believe intended to use the

weapons unlawfully.” Id.

      The United States Court of Appeals for the Eighth Circuit affirmed the

imposition of the enhancement. Id. at 1070. The court found that the facts showed

that the defendant had reason to believe the source intended to use the weapon

unlawfully. Id. As unregistered NFA firearms, the defendant’s and the source’s

possession of the automatic weapon and the grenade was “necessarily unlawful.”

Id. (quoting United States v. Pepper, 747 F.3d 520, 525 (8th Cir. 2014)). This fact,

combined with the clandestine nature of the sale, was sufficient to show that the




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defendant had reason to believe the source, “whose mere possession of the weapons

was unlawful, also intended to use the weapons unlawfully.” 2 Id.

      The Eighth Circuit also affirmed the application of the enhancement in

Pepper, 747 F.3d at 525. In that case, the defendant transferred several firearms to

his own drug dealer. Id. One of those firearms was an unregistered machinegun,

making the drug dealer’s mere possession of it unlawful. Id. The Eighth Circuit

found that these facts supported both prongs of the enhancement. Id.

      Accordingly, the enhancement clearly applies in this case. Defendant

transferred two Glock-type ghost guns with attached, unregistered silencers and a

machinegun with an integrated, unregistered silencer to the CI, a drug dealer. The

three silencers and the machinegun were unregistered NFA firearms whose mere

possession by both defendant and the CI was unlawful. At the same time that

defendant sold these firearms to the CI, he also sold the CI cocaine. Defendant

knew the CI was a drug dealer—he had previously sold the CI cocaine and knew




      2 Judge Kelly dissented. Lomax, 910 F.3d at 1070. Regarding the scope of
the use prong, Judge Kelly stated that “[t]he enhancement applies if there is
evidence sufficient to infer, by a preponderance, that the defendant should have
known that the purchaser intended to use the firearm in connection with some
other criminal activity.” Id. at 1072. As support for this, the dissent cites United
States v. Stebbins, 523 F. App’x 1, 5 (1st Cir. 2013), and United States v. Freeman,
640 F.3d 180, 189 (6th Cir. 2011), both of which involved sales, or planned sales, of
firearms to drug dealers. Lomax, 910 F.3d at 1072.
       Because defendant sold firearms to someone he knew was a drug dealer, even
under the Lomax dissent, the enhancement applies.



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that the CI intended to sell all or part of the cocaine the CI received. Under Lomax

and Pepper, defendant thus knew or had reason to believe the CI intended to use

the weapons unlawfully. The Court should impose the four-level enhancement in

USSG §2K2.1(b)(5) as scored by the probation office.

C.      Defendant Used or Possessed a Firearm in Connection with Another
        Felony Offense

        USSG 2K2.1(b)(6)(B) provides for a four-level increase if the defendant “used

or possessed any firearm or ammunition in connection another felony offense; or

possessed or transferred any firearm or ammunition with knowledge, intent, or

reason to believe it would be used or possessed in connection with another felony

offense.” “Another felony offense” “means any federal, state, or local offense, other

than the explosive or firearms possession or trafficking offense, punishable by

imprisonment for a term exceeding one year, regardless of whether a criminal

charge was brought, or a conviction obtained.” USSG § 2K2.1, comment. (n.14(C)).

        The term “another felony offense” is broad. As explained by the United

States Court of Appeals for the Eighth Circuit,

        [T]he plain language of § 2K2.1(b)(6) casts a broad net . . . . Application
        note 14(C) narrows the scope only slightly by defining “another felony
        offense” to exclude “the explosive or firearms possession or trafficking
        offense.” . . . The phrase “the . . . firearms possession . . . offense” in
        application note 14(C) most plainly refers to the underlying offense of
        conviction—in [this] case, possession of a firearm by a felon. Thus, the
        plain language of application note 14(C) excludes only the underlying
        firearms possession offense of conviction from the definition of “another
        felony offense.”




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United States v. Walker, 771 F.3d 449, 452 (8th Cir. 2014) (quoting United States v.

Jackson, 633 F.3d 703, 705–06 (8th Cir. 2011)). However, as a limitation on the

broad scope of USSG §2K2.1(b)(6)(B), the court has stated that “it would be

unreasonable, and hence presumably contrary to the Commission’s intent, to allow

the ‘additional felony’ to be an offense that the defendant has to commit, in every

case, in order to commit the underlying offense.” United States v. Lindquist, 421

F.3d 751, 756 (8th Cir. 2005) (alteration omitted) (quoting United States v. English,

329 F.3d 615, 616–617 (8th Cir. 2003)). “In applying § 2K2.1(b)(6) when the

defendant has not been convicted of another state or federal felony offense, the

district court must find by a preponderance of the evidence that another felony

offense was committed, and that use or possession of the firearm ‘facilitated’ that

other felony.” United States v. Boman, 873 F.3d 1035, 1043 (8th Cir. 2017) (quoting

United States v. Littrell, 557 F.3d 616, 617 (8th Cir. 2009)).

      In this case, the parties stipulated and agreed that the four-level

enhancement applied. In doing so, the parties provided three potential

justifications for application of the enhancement and noted those were not all-

inclusive. The agreement reached by the parties was an effort to compromise on

charges that would have resulted in 95 years of mandatory minimum sentences.

Nonetheless, the enhancement is listed as a sentencing issue because the probation

office stated that it would not have scored the enhancement but for the parties’

agreement.



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      Based on the facts and circumstances in this case, defendant possessed a

number of firearms in connection with other felony offenses. He also possessed or

transferred firearms with knowledge, intent, or reason to believe that they would be

used or possessed in connection with other felony offenses.

      First, as the parties agreed in the plea agreement, defendant unlawfully

carried or transported machineguns from Des Moines to Cedar Rapids.

      Second, defendant unlawfully possessed a silencer (firearm suppressor) in

connection with his unlawful transfer of a machinegun as alleged in Count 11 (the

conduct of which is admitted but no plea of guilty has been entered to the offense),

in violation of Iowa Code § 724.1B.

      Third, defendant repeatedly and illegally possessed NFA firearms (to include

machineguns and silencers, other than those involved in defendant’s pleas of guilty

in Counts 8, 9, and 10) with the intent to illegally transfer those firearms. This

includes but is not limited to the NFA firearms transported and transferred outside

of Iowa and the silencers unlawfully possessed as alleged in Counts 15-27 and 30-

42.

      Fourth, defendant possessed and transferred a firearm and silencer to the CI,

who defendant knew was a drug dealer. In doing so, defendant used and possessed

the firearm and the silencer in connection with the felonies of transferring a firearm

in violation of the NFA and using and possessing a firearm in furtherance of and

during and in relation to a drug trafficking crime. Based on defendant’s knowledge



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that the CI was a drug dealer, defendant also transferred the firearm and silencer

with knowledge, intent, and reason to believe that both of them would be possessed

in connection with another felony offense, namely violations of 18 U.S.C. § 924(c)

and possession of an unregistered firearm in violation of the NFA.

        Fifth, defendant possessed several firearms, including three machineguns

and a number of silencers, in connection with a conspiracy to manufacture firearms

in violation of the NFA. For example, defendant gave R.M. his AK-47 so R.M. could

turn it into a machinegun.

        Sixth, defendant possessed a pipe bomb, a NFA firearm, in connection with

the solicitation to commit a violent crime.

        Seventh, by defendant’s own admission, he carried and sold firearms out of

state. This trafficking and any out-of-state transfer activity was in violation of

federal law and was not charged.

        In sum, defendant possessed a number of firearm in connection with other

felony offenses. The Court should impose the four-level enhancement in USSG

§2K2.1(b)(6)(B) as stipulated by the parties in the plea agreement.

D.      Defendant Acted as an Organizer, Leader, Manager, or Supervisor

        USSG § 3B1.1(c) states that a defendant’s offense level should be increased

by two levels “[i]f the defendant was an organizer, leader, manager, or supervisor in

any criminal activity.” Application note 1 to this guideline states that, “To qualify

for an adjustment under this section, the defendant must have been the organizer,



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leader, manager, or supervisor of one or more other participants.” USSG §3B1.1,

comment. (n.1). Application note 4 states:

      Factors the court should consider include the exercise of decision
      making authority, the nature of participation in the commission of the
      offense, the recruitment of accomplices, the claimed right to a larger
      share of the fruits of the crime, the degree of participation in planning
      or organizing the offense, the nature and scope of the illegal activity,
      and the degree of control and authority exercised over others. There
      can, of course, be more than one person who qualifies as a leader or
      organizer of a criminal association or conspiracy. This adjustment
      does not apply to a defendant who merely suggests committing the
      offense

USSG §3B1.1, comment. (n.4).

      “To justify the leadership enhancement, a defendant need only have managed

or supervised at least one other participant in the criminal conspiracy.” United

States v. Bewig, 354 F.3d 731, 738 (8th Cir. 2003). “[T]he enhancement may apply

even if the management activity was limited to a single transaction.” Id. (quoting

United States v. Garrison, 168 F.3d 1089, 1096 (8th Cir. 1999)).

      The un-objected-to portions of the PSR and the stipulations from defendant’s

plea agreement establish that defendant acted as an organizer, leader, manager, or

supervisor in criminal activity. “At the defendant’s request, [R.F. and R.M.] worked

on milling the lower receiver of a rifle to make it function as a fully automatic

firearm.” (PSR ¶ 19).

      The defendant asked [R.M.] about converting 80% AK receivers to fully
      automatic and gave [R.M.] an AK-47 (his ROMARM/CUGIR, Model
      WASR-10, 7.62x39mm rifle) as a reference rifle.” (PSR ¶ 21). The
      defendant asked [R.M.] to take the receiver off of the rifle and replace
      it with an 80% receiver that was converted to be fully automatic. The


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      defendant also gave [R.M.] an additional fifteen M16 parts kits that
      the defendant had received from [R.F.]. The defendant paid [R.M.]
      $4,000 in cash for the conversion of 20 firearms to fully automatic
      firearms.

(PSR ¶ 20). Notably, defendant only paid $200 per firearm for the conversion of

firearms into machineguns. Yet, he sold the completed machinegun with a silencer

for $5,600. Less the price defendant charged for a silencer, $900, and the $200

defendant paid R.M., defendant made $4,500 from that one sale, all of which he

intended to keep for himself or funnel back into his drug and firearms trafficking

operation. Defendant exercised decision-making power in the firearms

manufacturing conspiracy and exerted control and authority over the actions of R.F.

and R.M. Defendant placed orders with R.M. and R.F., told them what he wanted,

and paid for the materials and services they rendered to him. The manufacturing of

the NFA firearms to defendant’s specifications could not have occurred but for

defendant initiating the transactions, directing the type of weapons to be made, and

setting the prices he would pay for them. Additionally, defendant was the only

person who knew the extent of the operation—there is no evidence that R.F. and

R.M. knew of how defendant was using or disposing of the silencers and

machineguns. Nor is there any evidence that either of them knew defendant was a

drug dealer.

      Because defendant acted as an organizer, leader, manager, or supervisor of

criminal activity, the Court should impose the two-level enhancement under USSG

§3B1.1(c).


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E.      The Court Should Impose the Special Condition of Supervised
        Release Regarding Substance Abuse Treatment

        The probation office recommends that the Court impose a special condition of

supervision requiring defendant to undergo a substance abuse evaluation, complete

any recommended treatment, and participate in a program of substance abuse

testing. The Court has broad discretion in imposing conditions of supervised

release. United States v. Moore, 860 F.3d 1076, 1078 (8th Cir. 2017). As the Eighth

Circuit Court of Appeals has further noted:

        Under § 3583(d), special conditions “must be reasonably related to four
        factors: the nature and circumstances of the offense and the history
        and characteristics of the defendant, the need to afford adequate
        deterrence to criminal conduct, the need to protect the public from
        future crimes of the defendant, and the need to provide the defendant
        with needed educational or vocational training, medical care, or other
        correctional treatment in the most effective manner.” United States v.
        Harris, 794 F.3d 885, 888–89 (8th Cir. 2015) (internal quotation marks
        omitted). “The special condition need not be related to all four factors;
        instead, the factors are weighed independently.” Hart, 829 F.3d at 609.
        Additionally, a special condition can “involve[ ] no greater deprivation
        of liberty than is reasonably necessary,” and must be “consistent with
        any pertinent policy statements issued by the Sentencing
        Commission.” 18 U.S.C. § 3583(d)(2)–(3).

Id. A supervised release condition will be upheld where the basis for the special

condition can be discerned from the record.” United States v. Thompson, 888 F.3d

347, 351 (8th Cir. 2018).

        Here, as discussed above, there is substantial evidence of defendant’s drug

use. Accordingly, the basis for the condition is easily discernable from the record,

and the Court should impose the condition as recommended by the probation office.




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IV.   CONCLUSION

      For the forgoing reasons, the United States contends the Court should

calculate the sentencing guidelines range as follows:

       Base Offense Level                      20
       USSG §2K2.1(a)(4)
       Number of Firearms                      +6
       USSG §2K2.1(b)(1)(C)
       Destructive Device                      +2
       USSG §2K2.1(b)(3)(B)
       Trafficking of Firearms                 +4
       USSG §2K2.1(b)(5)
       In Connection w/ Felony                 +4
       USSG §2K2.1(b)(6)(B)
       Money Laundering                        +2
       USSG §1B1.2(c)
       Role in the Offense                     +2
       USSG §3B1.1(c)
       Adjusted Offense Level                  40
       Acceptance of Responsibility            -3
       USSG §3E1.1
       Total Offense Level                     37


      In the event the Court does not apply the guidelines as outlined above, the

United States may seek an upward departure or an upward variance for the

purpose of arriving at a sentence that is sufficient but not greater than necessary to

achieve the goals of sentencing.

                                       Respectfully submitted,

                                       PETER E. DEEGAN, JR.
                                       United States Attorney

                                       By:




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                                                    /s/ Kyndra Lundquist
           CERTIFICATE OF SERVICE                   KYNDRA LUNDQUIST
I hereby certify that on October 30, 2020, I
electronically filed the foregoing with the Clerk
of Court using the ECF system which will send
                                                    and
notification of such filing to the parties or
attorneys of record.
          UNITED STATES ATTORNEY                    /s/ Richard L. Murphy
BY: /s KAL
                                                    RICHARD L. MURPHY

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